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                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA
__________________________________________
                                            )
 JERRY ROGERS, JR.,                         )
                                            )
                   Plaintiff                )
       v.                                   ) Case No. 2:20-cv-00517
                                            )
 SHERIFF RANDY SMITH, DANNY CULPEPER, )
 and KEITH CANIZARO,                        )
                                            )
                 Defendants                 )

                PLAINTIFF’S UNOPPOSED MOTION FOR LEAVE
     TO FILE A REPLY MEMORANDUM IN SUPPORT OF PLAINTIFF’S MOTION
        FOR ENTRY OF A PRIVACY ACT PROTECTIVE ORDER (R. Doc. 105)

         NOW INTO COURT, through counsel, comes Plaintiff Jerry Rogers, who seeks leave of

Court to permit the filing of the attached Reply Memorandum in Support of Plaintiff’s Motion for

Entry of a Privacy Act Protective Order (attached hereto as Exhibit A), along with the Unclassified

DOJ Case File (attached hereto as Exhibit B), to clarify inaccuracies in Defendants’ Opposition.

Counsel for Defendants has been contacted regarding this motion for leave and has confirmed that

Defendants have no objection.

         WHEREFORE, Plaintiff Jerry Rogers respectfully requests leave of this Honorable Court to

file his Reply Memorandum in Support of Plaintiff’s Motion for Entry of a Privacy Act Protective

Order.

                                      Respectfully Submitted:

                                      MOST & ASSOCIATES

                                      /s/ Hope A. Phelps
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